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             EXHIBIT B
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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
SECURITIES AND EXCHANGE                   )
COMMISSION,                                )
                                           )
                        Plaintiff,         )
                                           )
                  v.                       ) No. 1:23-cv-01599-ABJ-ZMF
                                           )
BINANCE HOLDINGS LIMITED,                  )
BAM TRADING SERVICES INC.,                )
BAM MANAGEMENT US HOLDINGS                 )
INC., AND CHANGPENG ZHAO,                  )
                                           )
                        Defendants.        )
__________________________________________)

                    [DEFENDANTS’ PROPOSED] SCHEDULING ORDER

       Having reviewed the parties’ October 4, 2024 Joint Rule 26(f) Report, pursuant to Rule

16(b), it is hereby ORDERED that:

       1.     Initial Disclosures: The parties shall make their initial disclosures pursuant to

Rule 26(a)(1) no later than October 25, 2024.

       2.     Joining Additional Parties and Amending Pleadings: Any additional parties must

be joined and any amendments to the pleadings must be filed by December 4, 2024.

       3.     Discovery Period and Scope of Discovery: Fact discovery shall close on

December 15, 2025, and all written discovery must be served by June 30, 2025. The parties may

conduct fact discovery on all of the SEC’s claims in its Complaint that are proceeding pursuant

to the Court’s June 28, 2024 Memorandum Opinion and Order, Dkt. No. 248. At this time,

discovery shall not proceed concerning (i) the Ten Crypto Tokens referenced in the Amended

Complaint; (ii) secondary sales of all tokens referenced in the Amended Complaint; (iii) Count
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Two concerning BUSD; (iv) Count Three as to Binance’s Simple Earn program; and (v)

compensation of BHL employees in BNB.

       4.      Depositions: Depositions may commence on all issues within the scope of

discovery as described above in No. 3. Absent leave of court or stipulation of the parties, each

side may take up to 15 depositions, though the SEC may use no more than 10 of its allotted

depositions on former or current employees or representatives of either BAM or BHL.

       5.      Expert Discovery: Expert discovery shall begin after the close of fact discovery,

and end on April 24, 2026, with the following interim deadlines:

             a. Disclosures for SEC disclosure of expert report(s): January 15, 2026

                   •   If requested by an opposing party, the SEC shall make its expert(s)

                       available for deposition before March 1, 2026.

             b. Deadline for Defendants’ disclosures: March 16, 2026

             c. Deadline for SEC reply disclosures: April 16, 2026, though these reports, if

                 any, shall be limited to rebutting any new, affirmative opinions offered by

                 Defendants beyond their rebuttals.

             d. Deadline for completion of expert depositions: April 24, 2026

No party shall offer reply reports in further support of opinions disclosed on January 15 or March

16, 2026.

       6.      Summary Judgment: The parties shall file summary judgment motions, if any, by

June 30, 2026. The parties shall file their opposition briefs by August 31, 2026, and reply briefs

are due October 15, 2026.

       7.      Pretrial Conference: A Pretrial Conference shall be held at least four months after

any opinion denying summary judgment.




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        8.     Trial: At the Pretrial Conference, the Court will set a trial date within 30 to 60

days afterwards, if practicable.

        SO ORDERED



                                                      ____________________________________
                                                      The Honorable Amy Berman Jackson
                                                      United States District Judge


DATE:




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